FA>< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.88~98

Cameron g MCE\_{Qy

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

lntersections Inc. and Net Enforcers, Inc.,
Plaintiffs,
v.
Joseph C. Loomis and Jenni M. Loornis,

Defendants.

Civil Action NO. 1:O9CV597 (LMB/TCB)

FILED UNDER SEAL

 

 

MEMORANDUM IN SUPPORT OF MOTION TO STRIKE
DECLARATION OF MICHELLE J. DICKENSON

FILED UNDER SEAL

Respectfully Submitted,

/S/

Timothy J. McEvOy, VSB NO. 33277
Cameron McEvoy, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898

(703) 273-8897 (Facsimile)
tmcevov@cameronmcevov.com

Counsel for Defendant Joseph C. Loomis

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CERTIFICATE OF SERVICE

l hereby certify that on this 14th day of July, 2010, I have filed a true and correct copy of the
foregoing With the Clerk of Court via the CM/ECF efiling Systern Which Will Send notification of
this filing to the following counsel of record:

FA)< 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, '\/'irginia 22030
TEL 703.273.8898

Carneron z l\/lCEyoy

 

Tara Lee, Esquire

Ryan C. Berry, Esquire

DLA Piper LLP

1775 Wiehle Avenue, Suite 400
Reston, Virginia 20190
Counsel for Plaintiffs

David Clarke, Esquire
l\/lichelle J. Dickinson, Esquire
MeliSSa R. Roth, Esquire
DLA Piper LLP

6225 Smith Avenue
Baltimore, Maryland 21209
Counsel for Plaintiffs

Eugene Walter Policastri, Esquire
Brornberg Rosenthal LLP

401 North Washington Street, Suite 500
Rockville, Maryland 20850

Counsel for Defendant Jenni Loomis

/s/

Tirnothy J. l\/lcEvoy, VSB No. 33277
CAMERON MCEon, PLLC

ll325 Randorn HillS Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898

(703) 273-8897 (Facsirnile)
tnicevoy@carneronmcevoy.coni

Counsel for Defendant Joseph C. Loornis

